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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                             CASE NO. 3:16-CV-558-RGJ-CHL

  MICHELLE MCMILLEN, individually                     )
  and as Administratrix of the Estate of              )
  Gynnya McMillen                                     )
                                                      )
         Plaintiffs                                   )
                                                      )
                                                      )
  REGINALD WINDHAM et. al.                            )
                                                      )
         Defendants                                   )

                                  *** *** *** *** ***
                         PARTIAL JUDGMENT ON JURY VERDICT

         Trial on this matter was held on January 10, 2022 through January 19, 2022.

         The jury reported to the Court on January 20, 2022 at 5:00 p.m. that they had reached

  partial verdicts. The verdicts were published in open court. The Court polled the jury as to their

  verdicts. The jury was then discharged. The verdicts were filed in the Court’s record (Doc. 261,

  PageID. 4069-4079) and a mistrial was declared on Special Interrogatory 3 as to Count 4 for

  Defendant Windham and Special Interrogatory 15 as to Count 6 for Defendant Price. Pursuant to

  the jury’s Verdict, Judgment hereby enters as follows:

     1) The Plaintiffs recover nothing; the action be dismissed on the merits and that Lisa Rivers

         recover costs from the Plaintiffs the Estate of Gynnya McMillen and Michelle McMillen.

         The action against Lisa Rivers was decided by Judge Rebecca Grady Jennings on a

         Motion for judgment as a matter of law under Rule 50 of the Federal Rules of Civil

         Procedure.

     2) The Plaintiffs recover nothing, the action be dismissed on the merits and that Loretta

         Gaudern recover costs from the Plaintiffs the Estate of Gynnya McMillen and Michelle
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        McMillen. The action against Loretta Gaudern was tried by a jury with Judge Rebecca

        Grady Jennings presiding and the jury has rendered a verdict in her favor on all claims.

     3) The Plaintiffs recover nothing, the action be dismissed on the merits and that Kevin

        Johnson recover costs from the Plaintiffs the Estate of Gynnya McMillen and Michelle

        McMillen. The action against Kevin Johnson was tried by a jury with Judge Rebecca

        Grady Jennings presiding and the jury has rendered a verdict in his favor on all claims.

     4) The Plaintiffs recover nothing as to Count 3 – §1983 Failure to Train and/or Supervise,

        Count 4 – Negligence, and Count 4 Gross Negligence, those claims be dismissed on the

        merits against Michael Price. The action against Michael Price was tried by a jury with

        Judge Rebecca Grady Jennings presiding and the jury has rendered a verdict as to Count 3

        – §1983 Failure to Train and/or Supervise, Count 4 – Negligence/Gross Negligence in his

        favor on those claims. Plaintiffs’ claim against Michael Price as to Count 6 – Negligent

        Training and Supervision, is not dismissed as the jury has not rendered a verdict as to Count

        6 – Negligent Training and Supervision, and a mistrial was declared.

     5) The Plaintiffs recover nothing, the action be dismissed on the merits and that Chris

        Johnson recover costs from the Plaintiffs the Estate of Gynnya McMillen and Michelle

        McMillen. The action against Chris Johnson was tried by a jury with Judge Rebecca

        Grady Jennings presiding and the jury has rendered a verdict in his favor on all claims.

     6) The Plaintiffs recover nothing, the action be dismissed on the merits and that Victor Holt

        recover costs from the Plaintiffs the Estate of Gynnya McMillen and Michelle McMillen.

        The action against Victor Holt was tried by a jury with Judge Rebecca Grady Jennings

        presiding and the jury has rendered a verdict in his favor on all claims.

     7) The Plaintiffs recover nothing as to Count 3 – §1983 Failure to Train and/or Supervise,

        Count 4 – Gross Negligence, those claims be dismissed on the merits against Reginald


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         Windham. The action against Reginald Windham was tried by a jury with Judge

         Rebecca Grady Jennings presiding and the jury has rendered a verdict as to Count 3 –

         §1983 Failure to Train and/or Supervise, Count 4 – Gross Negligence in his favor on those

         claims. Plaintiffs’ claims against Reginald Windham as to Count 6 – Negligence, is not

         dismissed as the jury has not rendered a verdict as to Count 6 – Negligence, and a mistrial

         was declared.

  IT IS SO ORDERED.




             March 9, 2022
   Dated: __________________                   __________________________________________
                                               Hon. Rebecca Grady Jennings
                                               United States District Court



  AGREED AS TO FORM ONLY:

   Ronald P. Hillerich                                Edward A. Baylous, II
   James M. Bolus, Jr.                                Attorney for Defendants Price,
   Brennan J. Soergel                                 Kevin Johnson, Rivers, and Gaudern
   Attorneys for Plaintiffs
                                                      By: /s/ Edward A. Baylous, II (w/permission)
   By: /s/ Brennan J. Soergel

   C. Dodd Harris, IV
   Attorney for Defendant Chris Johnson


   By: /s/ C. Dodd Harris, IV (w/permission)




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